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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          :
                                                  :
       v.                                         :       Criminal Action No.: 21-0605 (RC)
                                                  :
JONAH WESTBURY,                                   :       Re Document No.:       34
                                                  :
       Defendant.                                 :

                                             ORDER

            GRANTING UNITED STATES’ UNOPPOSED MOTION FOR RULE 44 INQUIRY

       Before the Court is the United States’ Unopposed Motion for a Rule 44 Inquiry (ECF No.

33). For the reasons set forth therein, it is hereby ORDERED that Barry Coburn is appointed as

a conflict attorney for the limited purpose of advising the defendants, Jonah Westbury, Isaac

Westbury, Robert Westbury, and Aaron Jones, in criminal cases 21-cr-371 and 21-cr-605,

whether joint counsel John Pierce’s representation of all of these defendants creates a conflict

between any of them and Mr. Pierce and, if so, whether the conflict can be waived by any or all

of the defendants. It is FURTHER ORDERED that Barry Coburn is authorized to have direct

communication with defendants Jonah Westbury, Isaac Westbury, Robert Westbury and Aaron

James, who are all represented by Mr. Pierce, regarding matters in which they are represented to

determine whether a conflict exists between any of these defendants and their counsel. Barry

Coburn shall file a status report to the Court by February 24, 2022 proposing a schedule to

complete the conflicts evaluation and to prepare a written report and recommendation to the

Court advising the Court of his analysis of any current or potential conflict.

       SO ORDERED.


Dated: 01/27/2022                                                  RUDOLPH CONTRERAS
                                                                   United States District Judge
